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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                  Indianapolis Division

In re:                         )
                               )                       Bankr. Case No.: 23-00041-JJG-7
NIKQUISA NUNN,                 )
                               )                       Chapter 7
            Debtor.            )
                               )
                               )
NIKQUISA NUNN,                 )                       Adv. Proc. No.: 23-50023
                               )
            Plaintiff,         )
v.                             )
                               )
THE U.S. DEPARTMENT OF         )
EDUCATION, NAVIENT             )
SOLUTIONS, LLC and EDUCATIONAL )
CREDIT MANAGEMENT              )
CORPORATION                    )
                               )
            Defendants.        )
                               )


         STIPULATION BETWEEN PLAINTIFF AND NAVIENT SOLUTIONS, LLC
                         FOR DISMISSAL OF NAVIENT
               AS A DEFENDANT IN THIS ADVERSARY PROCEEDING


         Plaintiff, Nikquisa Nunn (“Plaintiff”), and Navient Solutions, LLC (“NSL”), by and

through their respective undersigned counsel, hereby stipulate as follows:

         1.      On January 6, 2023, Plaintiff filed a voluntary petition for relief under Chapter 7

of the United States Bankruptcy Code. A discharge of eligible debts was entered on

April 4, 2023.

         2.      On March 20, 2023, Plaintiff filed a Complaint naming, inter alia, NSL as a

Defendant, seeking a discharge of educational loan debt pursuant 11 U.S.C. §523(a)(8). Plaintiff

filed an Amended Complaint on March 31, 2023.
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       3.      On April 19, 2023, NSL filed its Answer to Plaintiff’s Amended Complaint.

       4.      NSL represents that it was a servicer of a guaranteed Smart Consolidation

Loan(s), and seven (7) Stafford Loans made under the Federal Family Education Loan Program

(“FFELP”), on which Plaintiff is liable (“FFELP Loans”). The FFELP guarantor on Plaintiff’s

Consolidation Loan(s) and four (4) of the Stafford Loans is Educational Credit Management

Corporation (“ECMC”). The FFELP guarantor on the remaining three (3) Stafford Loans is

Great Lakes Higher Education Corporation, now known as Ascendium Education Solutions, Inc.

(“GLHEC / AESI”).

       5.      NSL represents that it facilitated a transfer of all interests in the FFELP loans to

the respective guarantors, and Educational Credit Management Corporation (“ECMC”), a

Minnesota non-profit corporation, that exists for certain specific, limited purposes, including

taking assignment of FFELP loans to respond to Complaints seeking discharge, appears to now

hold all such loans.

       6.      On May 9, 2023, an Order was entered granting ECMC’s Motion to Intervene as a

defendant, to defend the FFELP Loans at issue in this adversary proceeding.

       7.      Navient asserts that it has no authority to litigate the discharge of Plaintiff’s

FFELP Loans.

       8.      The parties to this Stipulation agree to the dismissal of Navient Solutions, LLC as

a Defendant in this adversary proceeding.

       9.      This Stipulation may be executed in counterparts, by facsimile and/or by

electronic mail, each of which shall constitute an original, but all of which together shall

constitute one and the same Stipulation between the parties.
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        WHEREFORE, the parties to this Stipulation pray this Honorable Court for an Order

approving this Stipulation and dismissing Navient Solutions, LLC as a Defendant in the above-

captioned adversary proceeding.



        ICE MILLER, LLP


By:      /s/ Alexandria Lundberg________                         Dated: __5/26/23_______
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